        Case 1:14-cv-14176-ADB Document 395 Filed 04/06/18 Page 1 of 10



                  IN THE UNITED STATES DISTRICT COURT FOR THE
                           DISTRICT OF MASSACHUSETTS
                                 BOSTON DIVISION



 STUDENTS FOR FAIR ADMISSIONS, INC.,
                            Plaintiff,                          No. 1:14-cv-14176-ADB
            v.
 PRESIDENT AND FELLOWS OF HARVARD
 COLLEGE (HARVARD CORPORATION),

                           Defendant.



                      NOTICE OF INTEREST IN PUBLIC ACCESS
                 TO SUMMARY JUDGMENT BRIEFING AND MATERIALS
       The United States respectfully notifies the Court of its substantial interest in this suit and

in public access to the summary judgment briefing and materials in this case. Plaintiff Students

for Fair Admissions, Inc. (“SFFA”) alleges that Harvard College has engaged in intentional

discrimination against Asian Americans in its admissions process in violation of federal civil

rights law. The public funds Harvard at a cost of millions of dollars each year, and thus has a

paramount interest in any proof of these allegations, Harvard’s responses to them, and the

Court’s resolution of this dispute. The Court therefore should ensure that these proceedings are

open and accessible to the public consistent with the requirements of governing law.

       Moreover, the United States has authority and responsibility to investigate alleged

violations of, and to enforce, Title VI and other federal civil rights statutes. Under that authority,

the United States is currently conducting an independent Title VI investigation into whether

Harvard’s admissions policy discriminates against Asian-American applicants to Harvard

College. Given the overlap between this suit and the United States’ investigation, this Court’s
        Case 1:14-cv-14176-ADB Document 395 Filed 04/06/18 Page 2 of 10



resolution of issues presented here may bear on the scope and resolution of the United States’

investigation and enforcement of federal civil rights laws. Accordingly, the United States may

exercise its statutory authority to file a statement of interest at the summary judgment phase of

this case. See 28 U.S.C. § 517. 1

       The United States therefore has a strong interest in public access to the parties’ summary

judgment briefing and materials. The United States agrees that applicants to Harvard, their

families, and the general public have a presumptively paramount right to access the summary

judgment record in this civil rights case. Moreover, the United States and any amici can

participate meaningfully in summary judgment only if they can access the summary judgment

materials and familiarize themselves with the legal issues and portions of the voluminous

discovery record that the parties present to the Court. Indeed, any undue limitation on or delay

in public access to the summary judgment materials would, at a minimum, create substantial

obstacles to the participation of non-parties on the Court’s current schedule and, more likely,

may even eliminate entirely the opportunity of non-parties to participate in summary judgment.

       Accordingly, the United States requests that the Court adhere to the well-established legal

framework for protecting the presumptive right of public access to summary judgment materials

and the legitimate privacy interests of parties to litigation. In particular, the Court should

preserve public access to the summary judgment materials in this case unless a party first carries

its burden of making a particularized showing that the most compelling reason overcomes the

presumption of such access to specific information. Thus, the Court should reject Harvard’s



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         The United States’ exercise of its statutory authority to file a statement of interest does
not constitute intervention under Federal Rule of Civil Procedure 24 or require leave of court.
See 28 U.S.C. § 517. Nonetheless, the United States would file any statement of interest at the
summary judgment phase on the schedule that the Court has set for amicus filings. See March
14, 2018, Electronic Order, ECF No. 387.
                                                  2
        Case 1:14-cv-14176-ADB Document 395 Filed 04/06/18 Page 3 of 10



invitation to flip the presumption; the Court should not allow “briefs and supporting documents

[to] be filed provisionally under seal on the established schedule” and consider unsealing

documents only on some unspecified timeline after the parties have filed all of their summary

judgment materials. See Harvard March 30, 2018, Ltr. at 1-2, ECF No. 389.

    THE COURT SHOULD PRESERVE APPROPRIATE PUBLIC ACCESS TO THE
       SUMMARY JUDGMENT BRIEFING AND MATERIALS IN THIS CASE

       Title VI of the Civil Rights Act of 1964 imposes anti-discrimination obligations on

recipients of federal funding, including a prohibition on discrimination “on the ground of race,

color, or national origin” in “any program or activity receiving Federal financial assistance.” 42

U.S.C. § 2000d. Congress has directed “[e]ach Federal department and agency which is

empowered to extend Federal financial assistance . . . to effectuate the provisions of” Title VI.

42 U.S.C. § 2000d-1. The taxpaying public provides Harvard with millions of dollars in federal

financial assistance each year, see Answer ¶ 32, ECF No. 17, including financial assistance from

the Department of Justice. The Department of Justice is currently conducting an investigation

into, among other things, a complaint filed by more than 60 Asian-American organizations

alleging—similar to SFFA in this case—that Harvard has violated Title VI by discriminating

against Asian-American applicants to Harvard College on the basis of race. See 28 C.F.R.

§§ 42.101-42.112 (Department of Justice regulations implementing the nondiscrimination

provisions of Title VI).

       This case thus overlaps with the legal and factual bases undergirding the United States’

investigation and could directly bear on that investigation and the interpretation and scope of

Title VI and other anti-discrimination laws that the United States enforces. See, e.g., 42 U.S.C.

§ 2000c-6 (enforcement of Equal Protection Clause in the context of institutions of higher

learning); 20 U.S.C. § 1681 et seq. (Title IX of the Education Act Amendments of 1972); Barnes

                                                 3
        Case 1:14-cv-14176-ADB Document 395 Filed 04/06/18 Page 4 of 10



v. Gorman, 536 U.S. 181, 185 (2002) (“[The Supreme] Court has interpreted Title IX

consistently with Title VI.”). Indeed, any construction or application of Title VI here could

implicate a host of federally-funded programs and activities: Title VI reaches well beyond the

education context with federal agencies across the spectrum extending federal financial

assistance and issuing regulations implementing Title VI’s anti-discrimination mandate. 2 The

Executive Branch has charged the Department of Justice with a unique federal government-wide

coordination function for Title VI and similar anti-discrimination laws to ensure consistent

application and enforcement. Executive Order 12250, 28 C.F.R. pt. 41, app. A; see also 28

C.F.R. § 0.50 (delegating to the Civil Rights Division the responsibility for “[e]nforcement of all

Federal statutes affecting civil rights”); 28 C.F.R. § 0.51 (delegating to the Civil Rights Division

the responsibility “for coordinating the implementation and enforcement by Executive agencies”

of Title VI and other anti-discrimination laws); United States v. Maricopa Cnty., 915 F. Supp. 2d

1073, 1080 (D. Ariz. 2012) (“The DOJ coordinates government-wide compliance with Title VI

and its interpretation of Title VI is entitled to special deference.”) (citations omitted).

        Given the significant interests of the United States potentially implicated by this case, the

United States may exercise its statutory authority to file a statement of interest at the summary

judgment phase. See 28 U.S.C. § 517. If the United States exercises this authority, it plans to

file a statement of interest on the schedule this Court already has set for filing amicus briefs—

i.e., 28 days after the party being supported files a motion and 18 days after the party files an

opposition. See March 14, 2018, Electronic Order, ECF No. 387.




        2
         See, e.g., 7 C.F.R. § 15.3 (Agriculture); 15 C.F.R. § 8.4 (Commerce); 10 C.F.R.
§ 1040.13 (Energy); 45 C.F.R. § 80.3 (Health and Human Services); 24 C.F.R. § 1.4 (Housing
and Urban Development); 43 C.F.R. § 17.3 (Interior); 29 C.F.R. § 31.3 (Labor); 22 C.F.R.
§ 141.3 (State); 49 C.F.R. § 21.5 (Transportation).
                                                   4
         Case 1:14-cv-14176-ADB Document 395 Filed 04/06/18 Page 5 of 10



        The Department of Justice therefore has a significant interest in preserving public access

to the parties’ summary judgment briefing and materials. The United States agrees that past,

present, and prospective applicants to Harvard, their families, and the general public have “a

profoundly important interest in observing and understanding how the Court resolves this case”

and the parties’ competing assertions regarding whether Harvard College’s admissions process

comports with Title VI’s anti-discrimination mandate. SFFA March 30, 2018, Ltr. at 1, ECF No.

388. Even Harvard agrees that “there is a public interest in this case.” Harvard March 30, 2018,

Ltr. at 2.

        Moreover, public access is essential to guaranteeing a meaningful opportunity for non-

parties such as the United States and any amici to participate in the summary judgment phase.

The United States and any amici can identify, understand, and contribute to the legal arguments

and factual support that the parties present to the Court only if they can access the summary

judgment briefs and materials. While the Department of Justice has secured most of the

discovery materials in this case through its Title VI investigative authority, see 28 C.F.R.

§ 42.106, those materials alone do not disclose the legal arguments the parties will advance, or

which parts of the vast record the parties will rely upon, in their summary judgment briefs and

statements of material facts. Thus, the United States, like any amici, must have access to the

parties’ briefs, statements of material facts, and supporting exhibits in order to decide whether to

file a brief and aid the Court’s consideration of any summary judgment motions.

        Harvard’s letter to the Court makes no mention of the Court’s scheduling order

recognizing the right of non-parties to participate in summary judgment or of non-parties’ need

for access to summary judgment materials in order to make that right meaningful. See generally

Harvard March 30, 2018, Ltr. Rather, “Harvard proposes that the briefs and supporting



                                                 5
        Case 1:14-cv-14176-ADB Document 395 Filed 04/06/18 Page 6 of 10



documents be filed provisionally under seal on the established schedule, and that the Court set a

schedule for the parties to assess the filings, confer to identify areas of disagreement concerning

the sealing of those documents, and submit any disagreements to the Court for prompt

resolution.” Id. at 1-2. But that proposal, if accepted by the Court, would create substantial

obstacles to the ability of non-parties to participate in summary judgment—and, more likely,

might even eliminate that opportunity entirely.

       Indeed, non-parties must be able to access the parties’ summary judgment filings

immediately in order to draft briefs within the 28-day and 18-day periods provided in the Court’s

scheduling order. See March 14, 2018, Electronic Order. Harvard, however, does not specify

how long it would take “for the parties to assess the filings, confer to identify areas of

disagreement concerning the sealing of those documents, and submit any disagreements to the

Court” for its “resolution.” Harvard March 30, 2018, Ltr. at 1-2. This process might not even

start until after the parties have submitted all of their summary judgment filings, including the

reply briefs. In that scenario, the United States and any amici would have no opportunity to

access the parties’ filings before the deadlines to file non-party briefs—and, thus, would be

entirely shut out of participating in the summary judgment phase. Alternatively, the process

could be conducted in multiple stages after each round of summary judgment filings. But such a

piecemeal process would unduly tax the Court’s scarce resources, and each stage of that process

could last up to 28 days or even longer, again shutting non-parties out of the opportunity to

timely access the parties’ filings and to file briefs on the Court’s schedule. Thus, under either

scenario, Harvard’s proposal would foreclose the United States and any amici from meaningful

participation in the summary judgment phase.




                                                  6
        Case 1:14-cv-14176-ADB Document 395 Filed 04/06/18 Page 7 of 10



       To be sure, there is a weighty interest in protecting the private identities of students and

applicants, as both SFFA and Harvard agree. See Harvard March 30, 2018, Ltr. at 3; SFFA

March 30, 2018, Ltr. at 2-3. But neither that interest nor any of Harvard’s other generalized

arguments warrant adoption of Harvard’s proposal to file all summary judgment materials under

seal. In fact, Harvard’s proposal contravenes the governing law and should be rejected for that

reason as well.

       Both the First Amendment and the common law require courts to preserve the

presumptively paramount public access to judicial records, including summary judgment

materials, and this Court should give full weight to this well-established presumption. Fed.

Trade Comm’n v. Standard Fin. Mgmt. Corp., 830 F.2d 404, 408 (1st Cir. 1987); Bradford &

Bigelow, Inc. v. Richardson, 109 F. Supp. 3d 445, 447-48 (D. Mass. 2015). The presumption

“stems from the premise that public monitoring of the judicial system fosters the important

values of ‘quality, honesty and respect for our legal system.’” Siedle v. Putnam Investments,

Inc., 147 F.3d 7, 9-10 (1st Cir. 1998) (quoting Standard Fin. Mgmt. Corp., 830 F.2d at 410).

The public-access right applies to the trial record as well as summary judgment evidence because

they both involve “materials on which a court relies in determining the litigants’ substantive

rights.” In re Providence Journal Co., Inc., 293 F.3d 1, 9-10 (1st Cir. 2002) (citation omitted).

The burden of persuasion rests with the party “seeking to keep the datum hidden” who must

provide “a particular factual demonstration of potential harm.” Standard Fin. Mgmt. Corp., 830

F.2d at 411-12 (cited by Harvard March 30, 2018, Ltr. at 2-3). This Court must “weigh the

presumptively paramount right of the public to know against the competing private interest at

stake,” keeping in mind that “[t]he citizens’ right to know is not lightly to be deflected” and

“[o]nly the most compelling reasons can justify non-disclosure.” Id. at 410.



                                                 7
        Case 1:14-cv-14176-ADB Document 395 Filed 04/06/18 Page 8 of 10



       Harvard’s proposal flips these controlling legal rules into a presumption in favor of a

sealed summary judgment record. Harvard’s proposal would allow the parties to file all

summary judgment materials under seal (thereby imperiling the right of the United States and

any amici to participate in the summary judgment phase), would allow the parties to keep

information under seal by agreement, and would permit the Court to enforce the presumption of

public access only if the parties raise “disagreements.” Harvard March 30, 2018, Ltr. at 1-2.

Harvard offers no justification for this approach other than generalized assertions regarding

student privacy and a purportedly proprietary admissions process. See id. The United States, of

course, shares the weighty interest in protecting the privacy of applicants and students. But

Harvard’s generalized assertions are insufficient to carry its burden to make a particularized

showing that the Court should allow any information—let alone the entire summary judgment

record—to be filed under seal and to remain under seal until the Court resolves any

disagreements between the parties in favor of public access. See id. at 3; SFFA March 30, 2018,

Ltr. at 2-4; see also Standard Fin. Mgmt. Corp., 830 F.2d at 410-12.

       This is especially true here. In the first place, Harvard has already redacted personal

identifying information from the student and applicant records that it has produced in discovery.

See Harvard March 30, 2018, Ltr. at 3. SFFA therefore does not have that information and

cannot include it in its summary judgment materials. See SFFA March 30, 2018, Ltr. at 2-4

& n. 1. In any event, SFFA has represented that it will redact personal information from the

“few, if any” individual student or applicant records it may file at summary judgment. Id. at 2.

And, finally, Harvard’s concern about public disclosure of the particulars of its admissions

process is belied by its own prior public disclosure of many of those particulars. See, e.g., SFFA

March 30, 2018, Ltr. at 10-11.



                                                 8
        Case 1:14-cv-14176-ADB Document 395 Filed 04/06/18 Page 9 of 10



       In short, Harvard’s proposal contravenes the law and imperils the interest of the public,

the United States, and any amici in full, fair, and open proceedings. This Court should instead

apply the well-settled law construing the presumption of public access to judicial records and

leave summary judgment (and any trial) materials available to the public unless a party first

makes a particular factual demonstration of potential harm from disclosure of each piece of

information that the party wishes to file under seal.



                                              Respectfully submitted,


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DATED: April 6, 2018




                                                 9
       Case 1:14-cv-14176-ADB Document 395 Filed 04/06/18 Page 10 of 10



                                CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the CM/ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing
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                                              /s/ Matthew J. Donnelly
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